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1      HILARY POTASHNER (Bar No. 167060)
       Federal Public Defender
2      AMY M. KARLIN (Bar No150016)
       (E-Mail: Amy_Karlin@fd.org)
3      Deputy Federal Public Defender
       411 West Fourth Street, Suite 7110
4      Santa Ana, California 92701-4598
       Telephone: (714) 338-4500
5      Facsimile: (714) 338-4520
6      Attorneys for Defendant
       ENRIQUE MARQUEZ, JR
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8
                                 UNITED STATES DISTRICT COURT
9
                             CENTRAL DISTRICT OF CALIFORNIA
10
                                       EASTERN DIVISION
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       UNITED STATES OF AMERICA,                      Case No. 15-0093-JGB
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                    Plaintiff,                        EX PARTE APPLICATION FOR
14                                                    ORDER RELIEVING FEDERAL
             v.                                       PUBLIC DEFENDER AND
15                                                    APPOINTING CJA PANEL
       ENRIQUE MARQUEZ, JR,                           COUNSEL BASED ON CONFLICT
16                                                    OF INTEREST; DECLARATION OF
                    Defendant.                        AMY M. KARLIN
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             Defendant Enrique Marquez, Jr, by and through his attorney of record, Deputy
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       Federal Public Defender Amy M. Karlin, applies pursuant to Local Rule 44-1 for an
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       order relieving the Office of the Federal Public Defender and appointing a CJA Panel
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       Attorney to represent him based upon a conflict of interest.
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1            This application is based on the attached declaration of counsel, all files and
2      records in this case, and such further information as may be provided to the court with
3      respect to this application.
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5                                             Respectfully submitted,
6                                             HILARY POTASHNER
                                              Federal Public Defender
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       DATED: June 5, 2018                 By /s/ AMY M. KARLIN
9                                            AMY M. KARLIN
10                                           Deputy Federal Public Defender

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1                             DECLARATION OF AMY M. KARLIN
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3            I, Amy M. Karlin, declare:
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5            1.     I am a Deputy Federal Public Defender in the Central District of California
6      and the Directing Attorney for the Santa Ana branch of the Office of the Federal Public
7      Defender. The Office of the Federal Public Defender was appointed to represent Mr.
8      Marquez in the above entitled action.
9            2.     After internal discussions with Federal Public Defender Hilary Potashner
10     and Los Angeles Trial Chief Anne Hwang, the Office of the Federal Public Defender
11     has determined it has a conflict of interest preventing it from continuing its
12     representation of Mr. Marquez. The basis for the request is submitted in a declaration
13     submitted concurrently herewith in camera.
14           3.     I am respectfully requesting that the Office of the Federal Public Defender
15     be relieved and that a CJA panel attorney be appointed for Mr. Marquez. Mr. Marquez
16     has been advised this ex parte application would be filed seeking new counsel for him.
17           4.     On June 5, 2018, I emailed Assistant United States Attorney Melanie
18     Sartoris regarding this ex parte application.
19           5.     In light of this request, I am respectfully requesting that the Court vacate
20     its order of June 4, 2018 requiring disclosure of expert reports.
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24     DATED: June 5, 2018                 By /s/ AMY M. KARLIN
25                                           AMY M. KARLIN
                                             Deputy Federal Public Defender
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